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                        THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

CHARLES ASHFORD                                                                     PLAINTIFF
ADC #133975

v.                               Case No. 4:20-cv-01107-KGB

DOE                                                                                DEFENDANT

                                          JUDGMENT

       Pursuant to the Order entered on this date, it is considered, ordered, and adjudged that this

case is dismissed without prejudice. The Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that

an in forma pauperis appeal taken from the Order and Judgment dismissing this action is

considered frivolous and not in good faith.

       It is so ordered this 9th day of December, 2022.



                                                        _____________________________
                                                        Kristine G. Baker
                                                        United States District Judge
